Case 1:22-cv-00397-JMC Document 18-2 Filed 06/03/22 Page 1 of 38




       Exhibit 1
       Case 1:22-cv-00397-JMC Document 18-2 Filed 06/03/22 Page 2 of 38


           Medicare Program Integrity Manual
           Chapter 13 – Local Coverage Determinations
                                   Table of Contents
                                  (Rev. 510, 04-11-14)

Transmittals for Chapter 13

13.1 - Medicare Policy
        13.1.1 - National Coverage Determinations (NCDs)
        13.1.2 - Coverage Provisions in Interpretive Manuals
        13.1.3 - Local Coverage Determinations (LCDs)
        13.1.4 - Durable Medical Equipment Medicare Administrative Contractors (DME MACs)
Adoption or Rejection of LCDs Recommended by Durable Medical Equipment Program
Safeguard Contractors (DME PSCs)
13.3 - Individual Claim Determinations
13.4 - When to Develop New/Revised LCDs
13.5 - Content of an LCD
        13.5.1 – Reasonable and Necessary Provisions in LCDs
        13.5.2 - Coding Provisions in LCDs
        13.5.3 - Use of Absolute Words in LCDs
        13.5.4 - LCD Requirements That Alternative Item or Service Be Tried First
13.6 - LCD Format
        13.6.1 - AMA Current Procedural Terminology (CPT) Copyright Agreement
13.7 - LCD Development Process
        13.7.1 - Evidence Supporting LCDs
        13.7.2 - LCDs That Require A Comment and Notice Period
        13.7.3 - LCDs That Do Not Require A Comment and Notice Period
        13.7.4 - LCD Comment and Notice Process
                13.7.4.1 - The Comment Period
                13.7.4.2 - Draft LCD Web Site Requirements
                13.7.4.3 - The Notice Period
                13.7.4.4 - Final LCD Web Site Requirements
13.8 - The LCD Advisory Process
        13.8.1 - The Carrier Advisory Committee
                13.8.1.1 - Purpose of the CAC
                13.8.1.2 - Membership on the CAC
                13.8.1.3 - Role of CAC Members
                13.8.1.4 - CAC Structure and Process
        13.8.2 - Durable Medical Equipment Regional Carrier (DMERC) Advisory Process
(DAP)
       Case 1:22-cv-00397-JMC Document 18-2 Filed 06/03/22 Page 3 of 38

13.9 - Provider Education Regarding LCDs
13.10 - Application of LCD
13.11 - LCD Reconsideration Process
13.12 - Retired LCDs and The LCD Record
13.13 - Challenge of an LCD
        13.13.1 - The Challenge
        13.13.2 - The LCD Record
        13.13.3 - Ex Parte Contacts
        13.13.4 - Discovery
        13.13.5 - Subpoenas
        13.13.6 - Evidence
        13.13.7 - Dismissals for Cause
        13.13.8 - New Evidence
        13.13.9 - Contractor Options
        13.13.10 - The ALJ Decision
        13.13.11 - Effectuating the Decision
        13.13.12 - Appeals
        13.13.13 - Board Review of an ALJ Decision
        13.13.14 - Effect of a Board Decision
        13.13.15 - Future New or Revised LCDs
         Case 1:22-cv-00397-JMC Document 18-2 Filed 06/03/22 Page 4 of 38


13.1 - Medicare Policies
(Rev. 71, 04-09-04)

The primary authority for all coverage provisions and subsequent policies is the Social Security
Act (the Act). Contractors use Medicare policies in the form of regulations, NCDs, coverage
provisions in interpretive manuals, and LCDs to apply the provisions of the Act.

13.1.1 - National Coverage Determinations (NCDs)
(Rev. 473, Issued: 06-21-13, Effective: 01-15-13, Implementation: 01-15-13)

 The NCDs are developed by CMS to describe the circumstances for Medicare coverage
 nationwide for an item or service. NCDs generally outline the conditions for which an item or
 service is considered to be covered (or not covered) under §1862(a) (1) of the Act or other
 applicable provisions of the Act. NCDs are usually issued as a program instruction. Once
 published in a CMS program instruction, an NCD is binding on all Medicare
 carriers/DMERCS, FIs, Quality Improvement Organizations (QIOs, formerly known as Peer
 Review Organizations or PROs), Program Safeguard Contractors (PSCs) and beginning
 10/1/01 are binding for Medicare+Choice organizations. NCDs made under §1862(a)(1) of the
 Act are binding on Administrative Law Judges (ALJ) during the claim appeal process. (See 42
 CFR 405.732 and 42 CFR 405.860).

 When a new NCD is published, the contractor shall notify the provider community as soon as
 possible of the change and corresponding effective date. This is a Provider Communications
 (PCOM) activity. Within 30 calendar days after an NCD is issued by CMS, contractors shall
 either publish the NCD on the contractor Web site or link to the MCD from the contractor
 Web site. The contractor shall not solicit comments on national coverage determinations.
 Contractors shall amend affected LCDs in accordance with §13.4C of this chapter. Since
 ALJs are bound by NCDs but not LCDs, simply repeating an NCD as an LCD will cause
 confusion as to the standing of the policy. If a contractor is clarifying a national “reasonable
 and necessary” policy, the contractor shall reference that national policy in the “CMS National
 Coverage Policy” section of the LCD.

 The contractor shall apply NCDs when reviewing claims for items or services addressed by
 NCDs. When making individual claim determinations, contractors have no authority to deviate
 from NCD if absolute words such as "never" or "only if" are used in the policy.

 National Coverage Determinations should not be confused with "National Coverage
 Requests" or "Coverage Decision Memoranda".

     •   National Coverage Request -- A national coverage request is a request from any party,
         including contractors and CMS staff, for CMS to consider an issue for a national
         coverage decision. The information CMS requires prior to accepting a national
         coverage request is described in the “Federal Register” (FR) Notice entitled "Revised
         Process for Making Medicare National Coverage Determinations" and is located
         http://www.cms.gov/DeterminationProcess/01_overvie
         w . a s p # r e g . If CMS decides to accept the request, information is posted on the
         coverage Web site at http://cms.hhs.gov/coverage. National Coverage Requests may
         contain Technology Assessments. Contractors should submit national coverage
         requests to Coverage and Analysis Group, Office of Clinical Standards and Quality,
         Case 1:22-cv-00397-JMC Document 18-2 Filed 06/03/22 Page 5 of 38

         S3-02-01, 7500 Security Boulevard, Baltimore, Maryland 21244 and provide a copy to
         MROperations@cms.hhs.gov and the appropriate RO. State "National Coverage
         Request" in the subject line.

     •   Coverage Decision Memorandum - CMS prepares a decision memorandum before
         preparing the national coverage decision. The decision memorandum is posted on the
         CMS Web site, that tells interested parties that CMS has concluded its analysis,
         describes the clinical position, which CMS intends to implement, and provides
         background on how CMS reached that stance. Coverage Decision Memos are not
         binding on contractors or ALJs. However, in order to expend MR funds wisely,
         contractors should consider Coverage Decision Memo posted on the CMS Web site.
         The decision outlined in the Coverage Decision Memo will be implemented in a CMS-
         issued program instruction within 180 days of the end of the calendar quarter in which
         the memo was posted on the Web site.

National coverage determinations should not be confused with coverage provisions in
interpretive manuals.

13.1.2 - Coverage Provisions in Interpretive Manuals
(Rev. 473, Issued: 06-21-13, Effective: 01-15-13, Implementation: 01-15-13)

Coverage provisions in interpretive manuals are instructions that are used to further define when
and under what circumstances items or services may be covered (or not covered). The contractor
shall not solicit comments on coverage provisions in interpretive manuals. Contractors shall
amend affected LCDs in accordance with this chapter.

The contractor shall apply coverage provisions in interpretive manuals to claims that are selected
for review. When making claim determinations, contractors shall not deviate from these
coverage provisions if absolute words such as "never" or "only if" are used. Requirements for
prerequisite therapies listed in coverage provisions in interpretive manuals (e.g., "conservative
treatment has been tried, but failed") shall be followed when deciding whether to cover an item
or service.

13.1.3 - Local Coverage Determinations (LCDs)
(Rev. 473, Issued: 06-21-13, Effective: 01-15-13, Implementation: 01-15-13)

Section 522 of the Benefits Improvement and Protection Act (BIPA) created the term “local
coverage determination” (LCD). An LCD is a decision by a Medicare administrative contractor
(MAC), fiscal intermediary or carrier whether to cover a particular item or service on a MAC-
wide, intermediary wide or carrier-wide basis in accordance with Section 1862(a)(1)(A) of the
Social Security Act (i.e., a determination as to whether the item or service is reasonable and
necessary). The difference between LMRPs and LCDs is that LCDs consist of only “reasonable
and necessary” information, while LMRPs may also contain benefit category and statutory
exclusion provisions.

The final rule establishing LCDs was published November 11, 2003. Beginning December 7,
2003, local policies will be referred to as LCDs with the understanding of the relative standing of
both LCDs and LMRPs. Effective December 7, 2003, contractors will issue LCDs instead of
LMRPs. Additionally, over a 2 year period, contractors converted all existing LMRPs into
       Case 1:22-cv-00397-JMC Document 18-2 Filed 06/03/22 Page 6 of 38

LCDs. Until that conversion was complete, the term LCD, for the purpose of section 522
challenges, will refer to both:

       1) Reasonable and necessary provisions of an LMRP and,
       2) An LCD that contains only reasonable and necessary language.

The CMS has developed an application within the Medicare coverage database back-end that
will facilitate this conversion. This application was made available to contractors on or about
December 3, 2003. The contractor converted the pertinent LMRP information into an LCD and
placed the remaining information (benefit category, statutory exclusion, and coding
provisions) in an article or delete it. Statutory exclusion and benefit category provisions in
LMRPs existing before December 7, 2003, remained in effect until that policy is converted
into an LCD.

Effective December 7, 2003, contractors directed to no longer create new LMRPs and shall
instead create LCDs. All LMRP were converted to LCDs no later than December 2005. Any
non-reasonable and necessary language a contractor wishes to communicate to providers were
published through an article. Any draft LMRPS that are in the notice period before
December 7, 2003, were entered into the MCD as a draft LCD. The draft LCD will then be
released as a final LCD on the scheduled effective date. Additionally, when making the
conversion from LMRP to LCD, contractors shall also research and revise their manual
references in order to ensure their accuracy. Until all CMS manuals are revised, LMRPs will
have the same effect as LCDs.

Codes describing what is covered and what is not covered can be part of the LCD. This
includes, for example, lists of HCPCs codes that spell out which items or services the LCD
applies to, lists of ICD-9-CM codes for which the item or service is covered, lists of ICD-9
codes for which the item or service is not considered reasonable and necessary, etc. These
coding descriptions should only be included if they are integral to the discussion of medical
necessity.

Coding guidelines are not elements of LCDs and should be published in articles or deleted.
Inclusion in LCDs may mislead the public that they can be challenged under the 522
provision. The following are examples of coding guidelines:

      A provision stating that a 4-inch thick mattress should be billed using code
      XXYYZ.

      A statement that in order to be correctly coded a level X visit shall include complex
      medical decision making and a review of systems.

The LCDs specify under what clinical circumstances an item or service is considered to be
reasonable and necessary. They are administrative and educational tools to assist providers in
submitting correct claims for payment. Contractors publish LCDs to provide guidance to the
public and medical community within their jurisdictions. Contractors develop LCDs by
considering medical literature, the advice of local medical societies and medical consultants,
public comments, and comments from the provider community.
       Case 1:22-cv-00397-JMC Document 18-2 Filed 06/03/22 Page 7 of 38

 The contractor should adopt LCDs that have been developed individually or collaboratively
 with other contractors. The contractor shall ensure that all LCDs are consistent with all
 statutes, rulings, regulations, and national coverage, payment, and coding policies.

 Any policy developed between February 1, 2001 and December 7, 2003, that has not been
 converted to an LCD shall be in the format described in PIM Exhibit 6. Additional
 information on the LCD format is available on the Fu & Associates Web page.

Contractors shall ensure that LCDs present an objective and positive statement and do not malign
any segment of the medical community. LCDs do not address fraud and contractors should not
use terms such as "fraud" and "fraudulent" in their LCDs. For example, the following sentence
would be inappropriate in an LCD. "If, on postpay review this carrier finds that XYZ procedure
was billed to Medicare after the effective date of this LCD, it will consider that billing
fraudulent." This sentence would be more accurate and less inflammatory if the word
"fraudulent" were replaced with the phrase "not reasonable and necessary".

13.1.4 - Durable Medical Equipment Medicare Administrative Contractors
(DME MACs) Adoption or Rejection of LCDs Recommended by Durable
Medical Equipment Program Safeguard Contractors (DME PSCs)
(Rev. 473, Issued: 06-21-13, Effective: 01-15-13, Implementation: 01-15-13)

 The DME PSCs shall ensure that the LCDs they recommend to the DME MACs are
 developed and revised in accordance with this chapter. This section applies to the:

   •   DME PSCs that develop new policies and revise existing policies.

   •   DME MACs.

   •   DMERCs that have not yet transitioned to the DME MACs.

 All references made to DME MACs in this section apply to DMERCs. The DME PSCs shall
 have on-going communication with the DME MACs as a new policy is being developed or
 when an existing adopted policy is being revised. CMS requires that the recommended LCDs
 developed by the DME PSCs be identical for each region to ensure uniformity for DMEPOS
 suppliers that operate nationally.

 The DME PSCs shall maintain an LCD record as a new policy is being developed or when
 an existing adopted policy is being revised. The DME PSCs shall submit the LCD record,
 which includes a copy of the final draft of the recommended LCD, to the DME MACs,
 prior to adoption of the recommended LCD. The DME MACs shall ensure that the LCD
 record is received prior to adoption of the recommended LCD.

 The LCD record shall consist of any document or material that the DME PSCs considered
 during the development of the new or revised LCD, including, but not limited to, the
 following:
        1. The LCD
        2. Any medical evidence considered on or before the date the LCD was recommended
 to the DME MACs for adoption, including, but not limited to, the following:
      Case 1:22-cv-00397-JMC Document 18-2 Filed 06/03/22 Page 8 of 38



  •   Scientific articles
  •   Technology assessments
  •   Clinical guidelines
  •   Documentation from the FDA regarding safety and efficacy of a drug or device with the
      exception of proprietary data and privileged information
  •   Statements from clinical experts, medical textbooks, claims data, or other indication of
      medical standard of practice

       3. Comment and Response Documents (a summary of all comments received by
the DME PSCs concerning the recommended LCD). This applies only to new LCDs or
revised LCDs that were sent for comment.

The DME MACs shall have someone available with a clinical background to review the
recommended LCD by the DME PSCs and determine if the recommended LCD shall be
adopted or rejected. The DME MACs shall have on-going communication and shall coordinate
with the other DME MACs to ensure that a uniform decision is made to adopt or reject a
recommended LCD across all DME MAC jurisdictions. The DME MACs shall notify the
DME PSCs of their decision to adopt or reject the recommended LCD. The DME MACs shall
ensure that the adopted LCDs are identical among the DME MACs.

If the DME MACs reject the recommended LCD by the DME PSCs, they shall explain in
writing to the DME PSCs why the LCD was rejected. If the DME PSCs decide to modify the
rejected LCD based on comments received from the DME MACs, the DME PSCs shall make
the appropriate modifications and shall submit a final copy of the recommended LCD to the
DME MACs.

In addition, the DME PSCs shall publish the adopted LCD via the Medicare Coverage
Database (MCD). The DME MACs shall provide an Internet link on their contractor Web site
to the MCD to provide access to the adopted LCD.

If an aggrieved party challenges an adopted LCD, the DME PSCs shall support the DME
MACs in their efforts to defend the adopted LCD during the appeal. For example, if the DME
MACs need the DME PSCs to provide oral testimony during an appeal, the DME PSCs shall
provide such testimony. Questions concerning the extent of the DME PSCs’ support to the
DME MACs during the appeals process shall be directed to the appropriate Primary and/or
Associate GTL(s).

The active LCD record shall be maintained by the DME PSCs until the LCD is retired. When an
LCD is retired, the DME PSCs shall submit the retired LCD record to the DME MACs. The
DME MACs shall retain the retired LCD record for 6 years and 3 months. The DME MACs
shall have a mechanism for archiving retired LCDs. This mechanism shall allow the DME
MACs to respond to requests and retrieve the LCD record. The DME MACs shall post on their
Web site information regarding how to obtain retired LCDs. The DME MACs shall provide an
Internet link on their contractor Web site to the MCD to provide access to the retired LCD. The
LCD record shall be destroyed 6 years and 3 months from the date the LCD is retired. However,
the DME MACs shall not destroy the retired LCD record if it relates to a current investigation
or litigation/negotiation; ongoing Workers’ Compensation set aside arrangements; or documents
which prompt suspicions of fraud and abuse of improper over-utilization of items or services.
       Case 1:22-cv-00397-JMC Document 18-2 Filed 06/03/22 Page 9 of 38

 This will satisfy evidentiary needs and discovery obligations critical to the agency’s litigation
 interests.

As referenced in Pub. 100-08, chapter 4, section 4.28, the joint operating agreement
developed by the DME PSCs and the DME MACs shall be modified to address the major
roles and responsibilities DME PSCs and DME MACs will delineate in order for the DME
MACs to adopt or reject LCDs recommended by the DME PSCs.

Effective March 1, 2008, DME PSCs will no longer develop, revise or recommend LCDs to the
DME MACs. In accordance to this chapter, the DME MACs will have full responsibility for
developing and revising LCDs, maintaining the LCD record, and responsibility for LCD
challenges. CMS requires that LCDs developed and revised by the DME MACs be identical for
each jurisdiction to ensure uniformity for DMEPOS suppliers that operate nationally.

13.3 - Individual Claim Determinations
(Rev. 473, Issued: 06-21-13, Effective: 01-15-13, Implementation: 01-15-13)

Contractors may review claims on either a prepayment or postpayment basis regardless of
whether a NCD, coverage provision in an interpretive manual, or LCD exists for that item or
service. However, automated denials can be made only when clear policy or certain other
conditions (see chapter 3, §3.5.1) exist. When making individual claim determinations, the
contractor shall determine whether the item or service in question is covered based on an LCD or
the clinical judgment of the medical reviewer. An item or service may be covered by a contractor
if it meets all of the conditions listed in §13.5.1, Reasonable and Necessary Provisions in LCDs
below.

13.4 - When To Develop New/Revised LCDs
(Rev. 473, Issued: 06-21-13, Effective: 01-15-13, Implementation: 01-15-13)

The use of a LCD helps avoid situations in which claims are paid or denied without a
provider having a full understanding of the basis for payment and denial.

A. Contractors Shall Develop New/Revised LCDs

Contractors shall develop LCDs when they have identified an item or service that is never
covered under certain circumstances and wish to establish automated review in the absence of
an NCD or coverage provision in an interpretive manual that supports automated review.

B. Contractors May Develop New/Revised LCD

Contractors have the option to develop LCDs when any of the following occur:

   A validated widespread problem demonstrates a significant risk to the Medicare trust funds
   (identified or potentially high dollar and/or high volume items or services. Multi-state
   contractors may develop uniform LCDs across all its jurisdictions even if data analysis
   indicates that the problem exists only in one state.

   •    A LCD is needed to assure beneficiary access to care.
         Case 1:22-cv-00397-JMC Document 18-2 Filed 06/03/22 Page 10 of 38



   •       A contractor has assumed the LCD development workload of another contractor and
         is undertaking an initiative to create uniform LCDs across its multiple jurisdictions; or
         is a multi-state contractor undertaking an initiative to create uniform LCDs across its
         jurisdiction; or

   •      Frequent denials are issued (following routine or complex review) or frequent denials
         are anticipated.

 C. Contractors Shall Review LCD

Contractors shall ensure that the LCDs appearing on the contractor’s LCD Web site and the
LCDs appearing in the Medicare Coverage Database are identical. Contractors are
encouraged to make use of the Medicare Coverage Database “Save as HTML” feature to
assist in keeping the LCDs on their contractor Web sites current.

Within 90 Days

Contractors shall review and appropriately revise affected LCD within 90 days of the
publication of program instruction (e.g., Program Memorandum, manual change) containing:

       • A new or revised NCD;
       • A new or revised coverage provision in an interpretive manual; or
       • A change to national payment policy. Within 120 Days

The Medicare Coverage Database will notify contractors of each LCD that is affected by
an update to a HCPCS code or ICD-9-CM code.

The database automatically incorporates code deletions into revised LCDs (and LMRPs and
articles) that are placed in “to be reviewed” status. In all cases (code deletions, code
insertions, and code description changes) a new version of the LCD (and LMRP and article) is
automatically made to incorporate the change, and the new version is placed in the “to be
reviewed” status.

Contractors shall review and approve and/or appropriately revise affected LCD within 120 days
of the date of this notification. Contractors shall revise the effective date, revision number, and
the revision history on all revisions due to major HCPCS and ICD-9-CM changes. Contractors
need not revise the effective date, revision number and revision history on revisions due to
minor HCPCS changes. Contractors shall ensure that corresponding changes are made to the
LCD appearing on the contractor’s LCD Web sites.

NOTE: The Medicare Coverage Database will only alert contractors to the existence of new
codes if the new code falls within a code range listed in the LCD.

Annually

To ensure that all LCDs remain accurate and up-to-date at all times, at least annually,
contractors shall review and appropriately revise LCDs based upon CMS NCD, coverage
provisions in interpretive manuals, national payment policies and national coding policies. If an
       Case 1:22-cv-00397-JMC Document 18-2 Filed 06/03/22 Page 11 of 38

LCD has been rendered useless by a new/revised national policy, the LCD shall be retired. This
process shall include a review of the LCDs in the Medicare Coverage Database and on the
contractor’s Web site.

Contractors should consider retiring LCDs that are no longer being used for prepay review, post
pay review or educational purposes. For example, contractors should consider retiring LCDs for
outdated technology with no claims volume.

13.5 - Content of an LCD
(Rev. 473, Issued: 06-21-13, Effective: 01-15-13, Implementation: 01-15-13)

Contractors shall ensure that LCDs are developed for items or services only within their
jurisdiction. The LCD shall be clear, concise, properly formatted and not restrict or conflict with
NCDs or coverage provisions in interpretive manuals. If an NCD or coverage provision in an
interpretive manual states that a given item is "covered for diagnoses/conditions A, B and C,"
contractors should not use that as a basis to develop LCD to cover only "diagnoses/conditions A,
B and C." When an NCD or coverage provision in an interpretive manual does not exclude
coverage for other diagnoses/conditions, contractors shall allow for individual consideration
unless the LCD supports automatic denial for some or all of those other diagnoses/conditions.

13.5.1 - Reasonable and Necessary Provisions in LCDs
(Rev. 473, Issued: 06-21-13, Effective: 01-15-13, Implementation: 01-15-13)

 An item or service may be covered by a contractor LCD if:

   •   It is reasonable and necessary under 1862(a)(1)(A) of The Act.
       Only reasonable and necessary provisions are considered part of
       the LCD.

Reasonable and Necessary

 Contractors shall describe in the draft LCD the circumstances under which the item or service
 is reasonable and necessary under 1862(a)(1)(A). Contractors shall consider a service to be
 reasonable and necessary if the contractor determines that the service is:

       •   Safe and effective;

       •   Not experimental or investigational (exception: routine costs of qualifying clinical
           trial services with dates of service on or after September 19, 2000 which meet the
           requirements of the Clinical Trials NCD are considered reasonable and necessary);
           and

       •   Appropriate, including the duration and frequency that is considered appropriate
           for the item or service, in terms of whether it is:

           o   Furnished in accordance with accepted standards of medical practice for the
               diagnosis or treatment of the patient's condition or to improve the function of a
               malformed body member;
       Case 1:22-cv-00397-JMC Document 18-2 Filed 06/03/22 Page 12 of 38



           o   Furnished in a setting appropriate to the patient's medical needs and condition;

           o   Ordered and furnished by qualified personnel;

           o   One that meets, but does not exceed, the patient's medical need; and

           o   At least as beneficial as an existing and available medically appropriate
               alternative.

 There are several exceptions to the requirement that an item or service be reasonable and
 necessary for diagnosis or treatment of illness or injury. The exceptions appear in the full
 text of §1862(a)(1) and include but are not limited to:

       • Pneumococcal, influenza and hepatitis B vaccines are covered if they are reasonable
         and necessary for the prevention of illness;

       • Hospice care is covered if it is reasonable and necessary for the palliation or
         management of terminal illness;

       • Screening mammography is covered if it is within frequency limits and meets
         quality standards;

       • Screening pap smears and screening pelvic exam are covered if they are within
         frequency limits;

       • Prostate cancer screening tests are covered if within frequency limits;

       • Colorectal cancer screening tests are covered if within frequency limits; and

       • One pair of conventional eyeglasses or contact lenses furnished subsequent to
         each cataract surgery with insertion of an interlobular lens;

13.5.2 - Coding Provisions in LCDs
(Rev. 473, Issued: 06-21-13, Effective: 01-15-13, Implementation: 01-15-13)

Only codes describing what is covered and what is not covered can be part of the LCD. This
includes, for example, lists of HCPCs codes that spell out which items or services the LCD
applies to, lists of ICD-9 codes for which the item or service is covered, lists of ICD-9 codes for
which the item or service is not considered reasonable and necessary, etc.

13.5.3 - Use of Absolute Words in LCDs
(Rev. 473, Issued: 06-21-13, Effective: 01-15-13, Implementation: 01-15-13)

Contractors should use phrases such as "rarely medically necessary" or "not usually medically
necessary" in proposed LCDs to describe situations where an item or service is considered to be,
in almost all instances, not reasonable and necessary. In order to limit unsolicited
documentation, clearly state what specific clinical situation would have to exist to be considered
       Case 1:22-cv-00397-JMC Document 18-2 Filed 06/03/22 Page 13 of 38

reasonable and necessary. If a contractor chooses to apply these kinds of policy provisions
(whether in NCD or other national coverage provisions in interpretive manuals, or LCDs) during
prepay review, they should not do so via automated review if documentation is to be submitted
with the claim for manual review of such claims.

When strong clinical justification exists, contractors may also develop LCDs that contain
absolute words such as "is never covered" or "is only covered for". When phrases with absolute
words are clearly stated in LCDs, contractors are not required to make any exceptions or give
individual consideration based on evidence. Contractors should create edits/parameters that are
as specific and narrow as possible to separate cases that can be automatically denied from those
requiring individual review.

13.5.4 - LCD Requirements That Alternative Item or Service Be Tried First
(Rev. 473, Issued: 06-21-13, Effective: 01-15-13, Implementation: 01-15-13)

Contractors should incorporate into LCDs the concept that use of an alternative item or service
precedes the use of another item or service. This approach is termed a "prerequisite." Contractors
shall base any requirement on evidence that a particular alternative is safe, as effective, or
appropriate for a given condition without exceeding the patients' medical needs. Prerequisites
shall be based on medical appropriateness, not on cost effectiveness. Non-covered items (e.g.,
pillows to elevate feet) may be listed. Any prerequisite for drug therapy shall be consistent with
the national coverage decision for labeled uses. Whenever national policy bases coverage on an
assessment of need by the beneficiary's provider, prerequisites should not be included in LCDs.
As an alternative, contractors may use phrases in proposed LCDs like "the provider should
consider..."

13.6 - LCD Format
(Rev. 71, 04-09-04)

All contractor LCDs shall be listed in the Medicare Coverage Database.

All LCDs shall be posted on the contractor’s Web site in HyperText Markup Language (HTML).
The Medicare Coverage Database has a feature that will allow a contractor to “save as HTML” a
file of a recently entered LCD. Contractors should alter the appearance of the HTML file to
meet their own Web site needs, e.g., change the background color.

13.6.1 - AMA Current Procedural Terminology (CPT) Copyright Agreement
(Rev. 71, 04-09-04)

Any time a CPT code is used in publications on the contractor Web site or in other electronic
media such as tapes, disks or CD-ROM, contractors shall display the AMA copyright notice in
the body of each LCD. Contractors shall use a point and click license on a computer screen or
Web page any time CPT codes are used on the Internet.

13.7 - LCD Development Process
(Rev. 473, Issued: 06-21-13, Effective: 01-15-13, Implementation: 01-15-13)

 When a new or revised LCD is needed, contractors do the following:
       Case 1:22-cv-00397-JMC Document 18-2 Filed 06/03/22 Page 14 of 38



   •    Contact the CMD facilitation contractor, other contractors, the local carrier or
       intermediary, the DMERC (if applicable), the Medicare Coverage Database or
       QIOs (formerly PROs) to inquire if a policy which addresses the issue in question
       already exists;

   •    Adopt or adapt an existing LCD, if possible; or

   •    Develop a policy if no policy exists or an existing policy cannot be adapted to the
       specific situation.

 The process for developing the LCD includes developing a draft LCD based on review
 of medical literature and the Contractor’s understanding of local practice.

 A. Multi-State Contractors

A contractor with LCD jurisdiction for two or more States is strongly encouraged to develop
uniform LCDs across all its jurisdictions. However, carriers shall continue to maintain and utilize
CACs in accordance with this chapter.

13.7.1 - Evidence Supporting LCDs
(Rev. 473, Issued: 06-21-13, Effective: 01-15-13, Implementation: 01-15-13)

Contractor LCDs shall be based on the strongest evidence available. The extent and quality
of supporting evidence is key to defending challenges to LCDs. The initial action in
gathering evidence to support LCDs shall always be a search of published scientific literature
for any available evidence pertaining to the item or service in question. In order of
preference, LCDs should be based on:

   •    Published authoritative evidence derived from definitive randomized clinical trials
       or other definitive studies, and

   •    General acceptance by the medical community (standard of practice), as supported
       by sound medical evidence based on:

        o   Scientific data or research studies published in peer-reviewed medical journals;

        o   Consensus of expert medical opinion (i.e., recognized authorities in the field); or

        o   Medical opinion derived from consultations with medical associations or other
            health care experts.

Acceptance by individual health care providers, or even a limited group of health care
providers, normally does not indicate general acceptance by the medical community.
Testimonials indicating such limited acceptance, and limited case studies distributed by
sponsors with financial interest in the outcome, are not sufficient evidence of general
acceptance by the medical community. The broad range of available evidence must be
considered and its quality shall be evaluated before a conclusion is reached.
       Case 1:22-cv-00397-JMC Document 18-2 Filed 06/03/22 Page 15 of 38

LCDs which challenge the standard of practice in a community and specify that an item or
service is never reasonable and necessary shall be based on sufficient evidence to convincingly
refute evidence presented in support of coverage.

Less stringent evidence is needed when allowing for individual consideration.

13.7.2 – LCDs That Require A Comment and Notice Period
(Rev. 71, 04-09-04)

Contractors shall provide for both a comment period and a notice period in the following
situations:

   •   All New LCDs

   •   Revised LCDs that Restrict Existing LCDs - Examples: adding non-covered indications
       to an existing LCD; deleting previously covered ICD-9 codes.

   •   Revised LCDs that make a Substantive Correction - If the contractor identifies an error
       published in an LCD that substantively changes the reasonable and necessary intent of
       the LCD, then the contractor shall extend the comment and/or notice period by an
       additional 45 calendar days.

13.7.3 - LCDs That Do Not Require a Comment and Notice Period
(Rev. 71, 04-09-04)

When a comment and notice period is unnecessary, contractors may immediately publish a
revised LCD electronically (e.g., Medicare coverage database, contractor Web site, email). In the
following situations, the comment and notice processes are unnecessary:

   •   Revised LCD that Liberalizes an Existing LCD - For example, a revised LCD expands
       the list of covered indications/diagnoses. The revision effective date may be retroactive.

   •   Revised LCD Being Issued for Compelling Reasons - SHALL OBTAIN RO (for PSCs,
       the GTL, Co-GTL, and SME) APPROVAL - For example, a highly unsafe
       procedure/device.

   •   Revised LCD that Makes a Non-Substantive Correction - For example, typographical or
       grammatical errors that do not substantially change the LCD. The revision effective date
       may be retroactive.

   •   Revised LCD that makes a Clarification - For example, adding information that clarifies
       the LCD but does not restrict the LCD. The revision effective date may be retroactive.

   •   Revised LCD that Makes a Non-discretionary Coverage/Payment/Coding Updates -
       Contractors shall update LCDs to reflect changes in NCDs, coverage provisions in
       interpretive manuals, payment systems, HCPCS, ICD-9 or other standard coding systems
       within the timeframes listed in §13.4C. The revision effective date may be retroactive
       depending on the effective date of the NCD, etc.
       Case 1:22-cv-00397-JMC Document 18-2 Filed 06/03/22 Page 16 of 38

   •   Revised LCD to Make Discretionary Coding Updates That Do Not Restrict -adding
       revisions that explain a coding issue so long as the revision does not restrict the LCD.
       The revision effective date may be retroactive.

   •   Revised LCD to Effectuate an Administrative Law Judge’s Decision on a BIPA 522
       challenge.

13.7.4 - LCD Comment and Notice Process
(Rev. 71, 04-09-04)

When a new or revised LCD requires comment and notice (See §13.7.2) contractors shall
provide a minimum comment period of 45 calendar days on the draft LCD. After the contractor
considers all comments and revises the LCD as needed, the contractor shall provide a minimum
notice period of 45 calendar days on the final LCD.

Contractors shall solicit comments from the medical community. Carriers solicit comments from
the Carrier Advisory Committee (CAC.) DMERCs solicit comments through the DMERC
Advisory Process (DAP.) Contractors respond to comments either individually or via a
comment/response document (see §13.7.4.2). Where appropriate, the contractor shall incorporate
the comments into the final LCD. Contractors notify providers of the LCD effective date. New
LCDs may not be implemented retroactively.

13.7.4.1 - The Comment Period
(Rev. 473, Issued: 06-21-13, Effective: 01-15-13, Implementation: 01-15-13)

A. When the Comment Period Begins

For LCDs that affect items or services submitted to carriers, the comment period begins at the
time the policy is distributed to the CAC either at the regularly scheduled meeting or in
writing to all members of the CAC. Contractors shall distribute these draft LCDs to the CAC
members via hardcopy or via email.

For LCDs that affect items or services submitted to intermediaries, the comment period begins
when the policy is distributed to medical providers or organizations. Contractors may distribute
these draft LCDs to medical providers and organizations via:

       Hardcopy mailing of the entire draft LCD,

   •    Hardcopy mailing of the title and Web address of the draft LCD, or

   •    E-mail containing the title and Web address of the draft LCD.

B. When the Comment Period Ends

Contractors shall provide a minimum comment period of 45 calendar days. Contractors have the
discretion but are not required to accept comments submitted after the end of the comment
period.

C. Draft LCD Distribution
       Case 1:22-cv-00397-JMC Document 18-2 Filed 06/03/22 Page 17 of 38


When a new or revised LCD requires comment and notice (outlined in this chapter), all
contractors shall solicit comments and recommendations on the draft LCD and get input
from, at least:

   •    Groups of health professionals and provider organizations that may be affected by the
       LCD;

   •    Representatives of relevant specialty societies;

   •    Other intermediaries/carriers;

   •    Quality Improvement Organizations (formerly known as PROs) within the region;

   •    Other CMDs within the region;

   •    General public (as outlined in this chapter);

   •    The regional office, associate regional administrator, for distribution to the
       appropriate regional staff (e.g., coverage experts, reimbursement experts). The RO (for
       PSCs, the GTL, Co-GTL, and SME) staff will review the LCDs for any operational
       concerns; and

   •    The appropriate Advisory process:

        o   The CAC, for carriers (See §13.8.1)

        o   The DAP, for DMERCs (See §13.8.2)

Contractors shall indicate in each distribution the date the comment period ends.

D. Draft LCD Open Meetings

Contractors shall provide open meetings for the purpose of discussing draft LCDs. Carriers
shall hold these open meetings prior to presenting the policy to the CAC. To accommodate
those who cannot be physically present at the meetings, contractors shall provide other means
for attendance (e.g., telephone conference) and accept written or e-mail comments. Written
and e-mail comments shall be given full and equal consideration as if presented in the
meeting. Members of the CAC may also attend these open meetings.

Interested parties (generally those that would be affected by the LCD, including providers,
physicians, vendors, manufacturers, beneficiaries, and caregivers) can make presentations of
information related to draft policies. Contractors shall remain sensitive to organizations or groups
which may have an interest in an issue (e.g., laboratories, providers who provide services in
nursing facilities, home care, or hospice and the associations which represent the
facilities/agencies) and invite them to participate in meetings at which a related LCD is to be
specifically discussed.
       Case 1:22-cv-00397-JMC Document 18-2 Filed 06/03/22 Page 18 of 38


13.7.4.2 - Draft LCD Web site Requirements
(Rev. 71, 04-09-04)

Draft LCD on the Contractor Web site

Contractors shall post draft LCDs on their Web sites. The Web site shall clearly indicate the start
and stop date of the comment period and list an e-mail and postal address to which comments
can be submitted.

LCD Status Page

Contractors shall post to their Web sites an LCD status page that includes the draft LCD title,
date of release of draft LCD for comment, e-mail and postal address for comments to be sent,
end date for comment period, current status (see the following status indicators), Date of Release
for Notice, and Web site link to the active LCD (i.e., the notice period is complete and the policy
is in effect.)

                              LCD Status Indicators
D = draft under development; not yet released for comments
C = draft LCD released for comment
E = formal comment period has ended; comments now being considered
F = final new/revised LCD has been issued for notice.
A= active policy; notice period complete and the policy is in effect

Comment/Response Document

Contractors shall post to their Web sites a summary of comments received concerning the draft
LMRP/LCD with the contractor's response. This comment/response document shall be posted
prior to or on the start date of the notice period. The comment/response document shall be posted
(remain visible) on the Web for at least a 6 month period.

The MCD allows users to attach comment/response documents to their draft document which
will be visible when the LCD is reviewed.

13.7.4.3 - The Notice Period
(Rev. 71, 04-09-04)

When a new or revised LCD is issued following a comment period (see §13.7.2), contractors
shall ensure that the effective date follows a minimum notice period of 45 calendar days.

A. When The Notice Period Begins

Contractors shall make final LCDs public via publication on their Web site. A summary of the
LCD shall be published in a news bulletin.

B. When The Notice Period Ends
       Case 1:22-cv-00397-JMC Document 18-2 Filed 06/03/22 Page 19 of 38

The notice period ends 45 calendar days after the notice period begins unless extended by the
contractor. If the notice period is not extended by the contractor, the effective date of the LCD is
the 46th calendar date after the notice period began.

13.7.4.4 - Final LCD Web Site Requirements
(Rev. 71, 04-09-04)

A. Final LCD on the Contractor Web Site

Contractors shall post all final LCDs on their Web Site. Every contractor Web site shall contain
all final LCDs for that contractor. The number of active LCDs in the Medicare Coverage
Database should equal the number of final LCDs on the contractor Web Site.

Contractors who are an intermediary and a carrier within the same corporation shall have
separate Web pages for their LCDs. Contractors shall notify all providers of the contractor LCD
Web address. If a contractor becomes aware of a provider without web access, the contractor
shall advise providers that they may request hard copy LCDs.

B. Final LCD in the Medicare Coverage Database (MCD)

The public can access the MCD at www.cms.hhs.gov/mcd.

Contractors shall update the MCD when they issue a new or revised LCD or retire an existing
LCD.

Contractors shall develop a mechanism for ensuring the accuracy of the information entered into
the MCD. This mechanism shall include, at a minimum, a process by which data that is entered
into the database is reviewed and verified for accuracy within four days of appearing to the
public on the Web.

13.8 - The LCD Advisory Process
(Rev. 71, 04-09-04)

13.8.1 - The Carrier Advisory Committee
(Rev. 99, Issued: 01-21-05, Effective: 03-24-04, Implementation: 02-22-05)

Carriers shall establish one CAC per State. Where there is more than one carrier in a State, the
carriers shall jointly establish a CAC. If there is one carrier for many States, each State shall
have a full committee and the opportunity to discuss draft LCDs and issues presented in their
State. Carriers maintain a current directory of CAC members which is available to CO, RO (for
PSCs, the GTL, Co-GTL, and SME) staff, and the provider community on request. Carriers that
develop identical policies for their entire jurisdiction may establish a single CAC if they are
granted a waiver from the CO (for PSCs, the GTL, Co-GTL, and SME). In order to obtain a
waiver from the CO (for PSCs, the GTL, Co-GTL, and SME), contractors shall obtain agreement
from CAC members within the jurisdiction.

13.8.1.1 - Purpose of the CAC
(Rev. 71, 04-09-04)
       Case 1:22-cv-00397-JMC Document 18-2 Filed 06/03/22 Page 20 of 38



The purpose of the CAC is to provide:

   •   A formal mechanism for physicians in the State to be informed of and participate in the
       development of an LCD in an advisory capacity;

   •   A mechanism to discuss and improve administrative policies that are within carrier
       discretion; and

   •   A forum for information exchange between carriers and physicians.

Carriers shall clearly communicate to CAC members that the focus of the CAC is LCDs and
administrative policies and not issues and policies related to private insurance business. The
CAC is not a forum for peer review, discussion of individual cases or individual providers.
While the CAC shall review all draft LCDs, the final implementation decision about LCDs rests
with the CMD.

The CMD jointly develops the agenda with the co-chair representing the CAC to include
concerns about LCDs and local administrative issues.

13.8.1.2 - Membership on the CAC
(Rev. 71, 04-09-04)

The CAC is to be composed of physicians, a beneficiary representative, and representatives of
other medical organizations. Each is individually described in Exhibit 3.

13.8.1.3 - Role of CAC Members
(Rev. 71, 04-09-04)

CAC members serve to improve the relations and communication between Medicare and the
physician community. Specifically, they:

   •   Disseminate proposed LCDs to colleagues in their respective State and specialty societies
       to solicit comments;

   •   Disseminate information about the Medicare program obtained at CAC meetings to their
       respective State and specialty societies; and

   •   Discuss inconsistent or conflicting MR policies.

13.8.1.4 - CAC Structure and Process
(Rev. 473, Issued: 06-21-13, Effective: 01-15-13, Implementation: 01-15-13)

A. Number of Representatives

Each specialty shall have only one member and a designated alternate with approval of
committee co-chairs. Additional members may attend when policies that require their
expertise are under discussion. Carriers maintain a current local directory of CAC members
        Case 1:22-cv-00397-JMC Document 18-2 Filed 06/03/22 Page 21 of 38

that is available to CO, RO (for PSCs, the GTL, Co-GTL, and SME), or the provider
community on request.

B. Tenure

Carriers have discretion to establish the duration of membership on the committee. The
term should balance the duration of time needed to learn about the process to enhance the
level of participation and functioning with the desire to allow a variety of physicians to
participate. Consider a 2-3 year term.

C. Co-Chairs

The CAC shall be co-chaired by the contractor medical director and one physician selected
by the committee. The co-chairs:

    •    Run the meetings and determine the agendas;

    •    Provide the full agenda and background material to each committee member at least
        14 days in advance; and

    •    Encourage committee members to discuss the material and disseminate it to interested
        colleagues within their specialty and to clinic or hospital colleagues for whom the item
        may be pertinent. The members may bring comments back to the meeting or request
        that their colleagues send written comments to the CMD separately.

Attendance at the meeting is at the discretion of the committee members. If the item is of
importance to their specialty, encourage members to attend or send an alternate. This is the
primary forum for discussion of proposed LCDs developed by the CMD. The 45-calendar-
day comment process required for all LCDs starts when the draft LCD is distributed to the
committee members. (See PIM Chapter 13 §13.7.4.1).

Co-chairs present all proposed LCDs to the CAC for discussion. If the need arises to develop
and implement LCDs before the next scheduled meeting, they solicit comments from committee
members by mail or e-mail.

D. Staff Participation

The Director of Medicare Operations shall assure that appropriate contractor staff attends to
address administrative issues on the agenda. Other staff may also be required to attend
include:

    •   Professional relations representative;
    •   MR manager and
•       MFIS/PSC Network.

E. Location

Carriers work with the State medical society and committee members to select a
meeting location that will optimize participation of physician committee members.
       Case 1:22-cv-00397-JMC Document 18-2 Filed 06/03/22 Page 22 of 38


F. Frequency of Meetings

Hold a minimum of 3 meetings a year, with no more than 4 months between meetings. In the
circumstance where a contractor is switching from 4 CAC meetings per year to 3 meetings, it
is acceptable to have more than 4 months between the meetings. However, the contractor shall
notify the RO (for PSCs, the GTL, Co-GTL, and SME) that this one time occurrence is taking
place.

G. Data

Each meeting should include a discussion and presentation of comparative utilization data that
has undergone preliminary analysis by the carrier and relates to discussion of proposed LCD.
Carriers solicit input from CAC members to help explain or interpret the data and give advice
on how overutilization should be addressed. The use of data to illustrate the extent of problem
billing (e.g., average number of items or services per 100 patients) might help justify the need
for a particular policy. The comparative data should be presented using graphs, charts, and other
visual methods of presenting data. Carriers may present egregious individual provider's data as
long as the provider's identification is not disclosed or cannot be deduced.

H. Payment for Participation

Participation in the CAC is considered a service to physician colleagues. Carriers do not
provide an honorarium or other forms of compensation to members. Expenses are the
responsibility of the individuals or the associations they represent.

I. Recordkeeping

Carriers keep minutes of the meeting and distribute them to members. Carriers submit the
following items from CAC meetings to the RO MR staff (for PSCs, the GTL, Co-GTL,
and SME) within 10 days following the meetings:

   •    A copy of the meeting agenda (include the date of the meeting);

   •    A prompt copy of meeting minutes (not approved);

   •    A copy of the approved minutes from the prior meeting, including a summary of this
       discussion and the number of attendees, broken down into committee members,
       alternates or observers and RO staff (for PSCs, the GTL, Co-GTL, and SME); and

   •    Tentative date of the next meeting.

Contractors should (but are not required to) prepare a version of the CAC minutes to be placed
on their Web site. This version could differ from a more detailed internal version. Contractors
shall assure that the Web site version of the minutes does not include any information that
would be protected by FOIA's exemption (b)(6) -- information that would be an invasion of
personal privacy (such as a CAC member's home phone number) or any other kind of sensitive
information. When contractors receive a request for a hard copy of CAC minutes, the request
       Case 1:22-cv-00397-JMC Document 18-2 Filed 06/03/22 Page 23 of 38

should go to the contractor's FOIA coordinator for processing through the freedom of
information request process.

J. Communicating With CO on National Issues

While the CMD should encourage CAC members to work through their respective organizations
and Practicing Physicians Advisory Council (PPAC) to effect national policy, the CAC is not
precluded from commenting on these issues. When appropriate, the CMD may choose to
forward a formal letter to CMS CO from the CAC. Send these letters through the RO, where
they will be answered or forwarded to the appropriate component in CO for response.

K. Support for Beneficiary Member

Provide individual support to the beneficiary representative in understanding the CAC role and
process. This includes assisting the beneficiary representative in understanding the LCDs so they
are better able to determine the effect of the policy on the beneficiary community. Carriers are
encouraged to find ways to involve the beneficiary community in efforts to stem abuse through
LCD development.

13.8.2 - Durable Medical Equipment Regional Carrier (DMERC) Advisory
Process (DAP)
(Rev. 71, 04-09-04)

The DMERC shall establish a forum of DME advisory workgroups in each region to discuss
DME issues and concerns with physicians, clinicians, beneficiaries, suppliers, and
manufacturers. Options for this forum should include ad hoc workgroups that are time-limited
and/or topic specific. Advisory participants do not advise the Federal Government. Therefore,
the rules governing open meetings of Federal Government committees do not apply to the DAP
process. Encourage individuals who are concerned with the issues or processes pertaining to
DME to attend.

The purpose of the DAP is to provide:

   •   A formal mechanism to obtain input regarding Regional LCDs (RLCDs) development
       and revision;

   •   A mechanism to discuss and improve administrative policies that are within the
       DMERCs' discretion; and

   •   A forum for information exchange between the DMERCs, physicians, clinicians,
       beneficiaries, suppliers, and manufacturers.


13.9 - Provider Education Regarding LCDs
(Rev. 174, Issued: 11-17-06, Effective: 10-01-06, Implementation: 10-06-06)

Contractors shall educate the provider community on new or significantly revised LCDs (e.g.,
training sessions, speaking at society meetings or writing articles in the society's newsletter).
This function shall be charged to provider outreach and education (POE). Inquiries of a clinical
       Case 1:22-cv-00397-JMC Document 18-2 Filed 06/03/22 Page 24 of 38

nature, such as the rationale behind coverage of certain items or services, shall be handled within
medical review (MR), the department responsible for the development of the LCD.

Carriers are required to publish DMERC summary policies, and other pertinent information
supplied by DMERCs, as requested, as part of regular bulletin distributions.

13.10 - Application of LCD
(Rev. 71, 04-09-04)

Contractors should apply LCDs to claims on either a prepayment or postpayment basis. If a
contractor decides to enforce an LCD on a prepayment basis, the contractor shall design an MR
edit. (See PIM Chapter 3, §3.5) Contractors have flexibility to add, alter, or eliminate MR edits
at any time. Contractors should not apply a LCD retroactively to claims processed prior to the
effective date of the policy.

13.11 - LCD Reconsideration Process
(Rev. 473, Issued: 06-21-13, Effective: 01-15-13, Implementation: 01-15-13)

Contractors who have the task of developing LCDs shall have an LCD Reconsideration Process
in accordance with the following instructions.

A. Purpose

The LCD Reconsideration Process is a mechanism by which interested parties can request a
revision to an LCD.

B. Scope

The LCD Reconsideration Process is available only for final LCDs. The whole LCD or any
provision of the LCD may be reconsidered.

C. General

Contractors shall respond timely to requests for LCD reconsideration. In addition, contractors
have the discretion to revise or retire their LCDs at any time on their own initiatives.

D. Web site Requirements for the LCD Reconsideration Process

Contractors shall add to their current Web sites information on the LCD Reconsideration
Process. This information should be on the home page or linked to another location. It shall be
labeled "LCD Reconsideration Process" and shall include:

   •    A description of the LCD Reconsideration Process; and

   •    Instructions for submitting LCD reconsideration requests, including postal, e-mail,
       and fax addresses where requests may be submitted.

E. Valid LCD Reconsideration Request Requirements
       Case 1:22-cv-00397-JMC Document 18-2 Filed 06/03/22 Page 25 of 38


1. Contractors:

SHALL consider all LCD reconsideration requests from:

   •     Beneficiaries residing or receiving care in a contractor's jurisdiction; and

   •     Providers doing business in a contractor's jurisdiction.

   •     Any interested party doing business in a contractor's jurisdiction.

2. Contractors should only accept reconsideration requests for LCDs published in final form.
    Requests shall not be accepted for other documents including:

         •   National Coverage Determinations (NCD);
         •   Coverage provisions in interpretive manuals;
         •   Draft LCDs;
         •   Template LCDs, unless or until they are adopted by the contractor;
         •   Retired LCDs;
         •   Individual claim determinations;
         •   Bulletins, articles, training materials; and
         •   Any instance in which no LCD exists, i.e., requests for development of an LCD.

If modification of the LCD would conflict with an NCD, the request would not be valid. The
contractor should refer the requestor to the NCD reconsideration process. Requestors can be
referred to http://www.cms.gov/DeterminationProcess/01_overview.asp#regs.

3. Requests shall be submitted in writing, and shall identify the language that the requestor
wants added to or deleted from an LCD. Requests shall include a justification supported by new
evidence, which may materially affect the LCD's content or basis. Copies of published evidence
shall be included.

The level of evidence required for LCD reconsideration is the same as that required for
new/revised LCD development. (PIM Chapter 13, Section 13.7.1)

4. Any request for LCD reconsideration that, in the judgment of the contractor, does not meet
these criteria is invalid.

5. Contractors have the discretion to consolidate valid requests if similar requests are received.

F. Process

1. The requestor should submit a valid LCD reconsideration request to the appropriate
contractor, following instructions on the contractor's Web site.

2. Within 30 days of the day the request is received, the contractor shall determine whether the
request is valid or invalid. If the request is invalid, the contractor shall respond, in writing, to
       Case 1:22-cv-00397-JMC Document 18-2 Filed 06/03/22 Page 26 of 38

the requestor explaining why the request was invalid. If the request is valid, the contractor
should follow the requirements below.

3. Within 90 days of the day the request was received, the contractor shall make a final LCD
reconsideration decision on the valid request and notify the requestor of the decision with its
rationale. Decision options include retiring the policy, no revision, revision to a more restrictive
policy, or revision to a less restrictive policy.

4. If the decision is either to retire the LCD or to make no revision to the LCD, then within
90 days of the day the request was received, the contractor shall inform the requestor of that
decision with its rationale.

5. If the decision is to revise the LCD, follow the normal process for LCD development.

6. Contractors shall keep an internal list of the LCD Reconsideration Requests received and the
dates, subject, and disposition of each one.

13.12 - Retired LCDs and The LCD Record
(Rev. 473, Issued: 06-21-13, Effective: 01-15-13, Implementation: 01-15-13)

Contractors shall list the retired date on all retired LCDs. The active LCD record shall be
maintained by contractors until the LCD is retired. Contractors shall retain the retired
LCD record for 6 years and 3 months. Contractors shall have a mechanism for archiving
retired LCDs. This mechanism shall also allow the contractor to respond to requests and
retrieve the LCD record. Contractors shall post on their Web site information regarding
how to obtain retired LCD. The LCD record shall be destroyed 6 years and 3 months
from the date the LCD is retired.

However, contractors shall not destroy the LCD record if it relates to a current investigation or
litigation/negotiation; ongoing Workers’ Compensation set aside arrangements; or documents
which prompt suspicions of fraud and abuse of improper over-utilization of items or services.
This will satisfy evidentiary needs and discovery obligations critical to the agency’s litigation
interests.

13.13 – Challenge of an LCD
(Rev. 473, Issued: 06-21-13, Effective: 01-15-13, Implementation: 01-15-13)

In addition to creating the term “Local Coverage Determination” (LCD), BIPA 522 creates an
appeals process for an “aggrieved party” to challenge LCDs/LCD provisions that are in effect
at the time of the challenge. “Aggrieved party” is defined as a Medicare beneficiary, or the
estate of a Medicare beneficiary, who is entitled to benefits under Part A, enrolled under Part
B, or both (including an individual enrolled in fee-for-service Medicare, in a Medicare+Choice
plan (MAC), or in another Medicare managed care plan), and is in need of coverage for an item
or service that would be denied by an LCD, as documented by the beneficiary’s treating
physician, regardless of whether the service has been received.

The term LCD refers to both 1) A reasonable and necessary provision of an LMRP and 2) A
separate, stand-alone LCD that contains only reasonable and necessary language.
       Case 1:22-cv-00397-JMC Document 18-2 Filed 06/03/22 Page 27 of 38

If appropriate, CMS may choose to participate as a party in the process. (See §426.415 of the
regulation).

13.13.1 - The Challenge
(Rev. 473, Issued: 06-21-13, Effective: 01-15-13, Implementation: 01-15-13)

An aggrieved party who chooses to file an LCD challenge before receiving the item or service
shall file a complaint within 6 months of the issuance of a written statement from his or her
treating practitioner. An aggrieved party who chooses to file an LCD challenge after receiving
the item or service shall file the complaint within 120 days of the initial denial notice.

The aggrieved party bears the burden of proof and burden of persuasion (which will be judged
by a preponderance of the evidence) in an LCD challenge. In other words, the aggrieved party
shall come forward with evidence to support his/her claim and prove that it is more likely than
not that the provision(s) in question should be found invalid. (See section 426.30 of the
regulation).

Upon acceptance of a complaint from an aggrieved party, the Administrative Law Judge (ALJ)
will forward a copy of the complaint to the contractor. The contractor will then be required to
send a copy of the LCD record to the ALJ and all other parties involved in the LCD review
(i.e., the aggrieved party/parties) within 30 days (subject to extension for good cause shown).
Addresses of these parties will be provided in the letter from the ALJ. The contractor shall also
send a copy of the LCD record and a copy of all materials sent by the ALJ to CMS at 7500
Security Blvd, Baltimore, MD 21224, Mail Stop S3-02-01, Attn: LCD Challenge Staff.

Within 10 days of receiving a valid challenge from the ALJ, the contractor shall initiate a
reconsideration of the challenged policy. In instances where the contractor feels the policy is
reasonable despite the new evidence presented, the contractor shall simply continue with the
review process in order to defend the policy. In cases where the contractor feels that the policy
is unreasonable in light of the new evidence, the contractor shall revise the policy through the
reconsideration process and notify the ALJ within 48 hours of issuing a revised policy. The
contractor shall then forward a copy of the revised LCD to the ALJ. If the provision in question
is not entirely removed, the review will continue on the revised LCD. (See §426.420 of the
regulation.)

13.13.2 - The LCD Record
(Rev. 71, 04-09-04)

The contractor shall, by June 2004, maintain an LCD record for each active LCD (both stand
alone LCDs and LCDs within LMRPs). In order to fulfill this requirement, contractors shall
develop and maintain an LCD record when any new LCD is developed. Additionally, the
contractor will have 30 days to provide an LCD record to the ALJ when an LCD is challenged.
Finally, contractors shall develop and maintain an LCD record for all other LCDs by June 1,
2004.

The LCD record sent to the aggrieved party consists of any document or material that the
contractor considered during the development of the LCD, including, but not limited to, the
following:
       Case 1:22-cv-00397-JMC Document 18-2 Filed 06/03/22 Page 28 of 38

       (1) The LCD.

       (2) Any medical evidence considered on or before the date the LCD was issued,
           including, but not limited to, the following:

       (i) Scientific articles.

       (ii) Technology assessments.

       (iii) Clinical guidelines.

       (iv) Documentation from the FDA regarding safety and efficacy of a drug or device with
       the exception of proprietary data and privileged information.

       (v) Statements from clinical experts, medical textbooks, claims data, or other indication
       of medical standard of practice.

       (3) Comment and Response Document (a summary of comments received by the
           contractor concerning the draft LCD).

       (4) An index of documents considered that are excluded from the record provided to the
           aggrieved part but provided to the ALJ because of their proprietary nature. (See
           §426.418 of the final regulation)

The LCD record furnished to the aggrieved party does not include the following:

       (1) Proprietary data or privileged information.

       (2) Any new evidence.

The LCD record furnished to the ALJ will include the following

       (1) All documents furnished to the aggrieved party.

       (2) Privileged information and proprietary data considered that shall be filed with the
           ALJ under seal. This information shall be clearly marked as “proprietary” so the ALJ
           will know to keep it confidential. (See §426.419 of the final regulation).

Within 30 days of receiving the record, the aggrieved party shall file a statement explaining why
the contractor’s LCD record is not complete, or not adequate to support the validity of the LCD.

Upon the receipt of the aggrieved party’s statement, the contractor will have 30 days to submit a
written response to the ALJ in order to defend the LCD. Generally, the response should explain
why the aggrieved party’s statement is incorrect. These statements will become part of the
record.

If the ALJ finds the record complete and adequate to support the validity of the LCD, the review
process ends.
       Case 1:22-cv-00397-JMC Document 18-2 Filed 06/03/22 Page 29 of 38

If the ALJ determines that the LCD record is not complete and adequate to support the validity
of the LCD, the ALJ will permit discovery and the taking of evidence (see §§426.432 and
426.440 of the regulation) and evaluate the LCD (see §426.431 of the regulation) This process
shall apply when an LCD record has been supplemented.

Upon agreement of the parties, any conferences, arguments or hearings may be held in person,
via telephone, or via any other means (See §426.405 of the regulation.)

13.13.3 - Ex Parte Contacts
(Rev. 71, 04-09-04)

No party or person (except employees of the ALJ's office) will communicate in any way with the
ALJ on any substantive matter at issue in a case, unless all parties are given notice and an
opportunity to participate. This provision does not prohibit a person or party from inquiring
about the status of a case or asking routine questions concerning administrative functions or
procedures. (See Section §426.406 of the regulation)

13.13.4 - Discovery
(Rev. 71, 04-09-04)

If the ALJ orders discovery, then he or she will establish a reasonable timeframe for completion
of discovery. If the Contractor (or any party) feels that the discovery sought is irrelevant or
unduly repetitive, unduly costly or burdensome, or will unduly delay the proceeding, he or she
should file a motion for a protective order before the date of production of the discovery.

A party may obtain discovery via a request for the production of documents and/or via the
submission of 10 written interrogatory questions relating to a specific LCD. The term
"documents" includes relevant information, reports, answers, records, accounts, papers, and other
data and documentary evidence. Nothing in the discovery section of the Regulation will be
interpreted to require the creation of a document. Requests for admissions, depositions, or any
other forms of discovery will not be used in the 522 appeals process. The ALJ will notify all
parties in writing when the discovery period will be closed. (See § 426.432 of the regulation)

13.13.5 - Subpoenas
(Rev. 473, Issued: 06-21-13, Effective: 01-15-13, Implementation: 01-15-13)

A subpoena requires the attendance of an individual at a hearing and may also require a party to
produce evidence at or before the hearing. A party seeking a subpoena shall file a written
motion with the ALJ not less than 30 days before the date fixed for the hearing. The motion
shall designate the witnesses, specify any evidence to be produced, describe the address and
location with sufficient particularity to permit the witnesses to be found, and state the pertinent
facts that the party expects to establish by the witnesses or documents and whether the facts
could be established by other evidence without the use of a subpoena. (See § 426.435 of the
regulation)

Within 15 days after the written motion requesting issuance of a subpoena is served on all
parties, any party may file an opposition to the motion or other response.
       Case 1:22-cv-00397-JMC Document 18-2 Filed 06/03/22 Page 30 of 38

If the ALJ grants a motion requesting issuance of a subpoena, the subpoena shall do the
following:

        (1) Be issued in the name of the ALJ.

        (2) Include the docket number and title of the LCD under review.

        (3) Provide notice that the subpoena is issued according to sections 1872 and 205(d) and
        (e) of the Act.

        (4) Specify the time and place at which the witness is to appear and any evidence
        the witness is to produce.

The party seeking the subpoena will serve it by personal delivery to the individual named, or by
certified mail return receipt requested, addressed to the individual at his or her last dwelling
place or principal place of business. The individual to whom the subpoena is directed may file
motion to quash the subpoena with the ALJ within 10 days after service.

The exclusive remedy for or refusal to obey a subpoena duly served upon any person is specified
in section 205(e) of the Act (42 U.S.C. 405(e)). That section provides the appropriate district
court of the United States, upon application of the Commissioner of the Social Security
Administration/Secretary of the Department of Health and Human Services, can issue an order
and charge a person who doesn’t comply with that order with contempt of court.

13.13.6 - Evidence
(Rev. 71, 04-09-04)

The ALJ is not bound by the Federal Rules of Evidence. However, the ALJ may apply the
Federal Rules of Evidence when appropriate, for example, to exclude unreliable evidence. The
ALJ shall exclude evidence that he/she determines is clearly irrelevant, immaterial, or unduly
repetitive. The ALJ may accept privileged information or proprietary data, but shall maintain it
under seal.

The ALJ may permit the parties to introduce the testimony of expert witnesses on scientific and
clinical issues, rebuttal witnesses, and other relevant evidence. The ALJ may require that the
testimony of expert witnesses be submitted in the form of a written report, accompanied by the
curriculum vitae of the expert preparing the report. Experts submitting reports shall be available
for cross-examination at an evidentiary hearing upon request of the ALJ or a party to the
proceeding, or the reports will be excluded from the record. Unless otherwise ordered by the
ALJ for good cause shown, all documents and other evidence offered or taken for the record will
be open to examination by all parties. (See Section 426.440).

13.13.7 - Dismissals for Cause
(Rev. 473, Issued: 06-21-13, Effective: 01-15-13, Implementation: 01-15-13)
The ALJ may, at the request of any party, or on his or her own motion, dismiss a complaint if
the aggrieved party fails to attend or participate in a prehearing conference or hearing without
good cause shown or comply with a lawful order of the ALJ without good cause shown.
       Case 1:22-cv-00397-JMC Document 18-2 Filed 06/03/22 Page 31 of 38

The ALJ shall dismiss any complaint concerning LCD provision(s) if the following
conditions exist:

       (1) The ALJ does not have the authority to rule on that provision

       (2) The complaint is not timely.

       (3) The complaint is not filed by an aggrieved party.

       (4) The complaint is filed by an individual who fails to provide an adequate statement
       of need for the item or service from the treating practitioner.

       (5) The complaint challenges a provision or provisions of an NCD

       (6) The contractor notifies the ALJ that the LCD provision(s) is (are) no longer in
       effect.

       (7) The aggrieved party withdraws the complaint

13.13.8 - New Evidence
(Rev. 71, 04-09-04)

An aggrieved party may submit new evidence pertaining to the LCD provision(s) in question.
New evidence is defined as clinical or scientific evidence that was not considered by the
contractor before the LCD was issued. The ALJ will review the new evidence and decide
whether this evidence has the potential to significantly affect the evaluation of the LCD
provision(s) in question under the reasonableness standard provided for in BIPA 522. (See
§426.340 of the regulation.)

The reasonableness standard is defined in the regulation as the standard that an ALJ or the Board
shall apply when conducting an LCD review. In determining whether LCDs are valid, the
adjudicator shall uphold a challenged policy (or a provision or provisions of a challenged policy)
if the findings of fact, interpretations of law, and applications of fact to law by the contractor or
CMS are reasonable based on the LCD or NCD record and the relevant record developed before
the ALJ/Board.

If the ALJ determines that the new evidence does not have the potential to significantly affect the
ALJ’s evaluation of the LCD provision(s), this evidence will be included in the record of the
hearing to prevent it from being resubmitted as new evidence at a later date, and the review will
continue.

If the ALJ determines that the new evidence has the potential to significantly affect the ALJ’s
evaluation of the LCD provision(s), then the ALJ will suspend the proceedings and send the new
evidence to the contractor for review. The contractor will have 10 days, generally, to review the
new evidence and decide whether the contractor will initiate a reconsideration.

If the contractor informs the ALJ that a reconsideration will be initiated, then the ALJ will set a
reasonable timeframe, generally, but not more than, 90 days, by which the contractor will
complete the reconsideration as described in Section (13.11) of this chapter.
       Case 1:22-cv-00397-JMC Document 18-2 Filed 06/03/22 Page 32 of 38



The ALJ will lift the stay in proceedings and continue the review on the challenged provision(s)
of the original LCD, including the new evidence in the record of the hearing, if the contractor:

       (1) Informs the ALJ that a reconsideration will not be initiated; or

       (2) The 90-day reconsideration timeframe is not met.

           (a) If an LCD is reconsidered and revised within the 90-day timeframe allotted by the

The ALJ/Board, then the revised LCD and any supplement to the LCD record will be forwarded
to the ALJ and all parties and the review will proceed on the LCD.

The contractor should review any new evidence that is submitted, regardless of whether the ALJ
has stayed the proceedings, including but not limited to—

       (1) New evidence submitted with the initial complaint;
       (2) New evidence submitted with an amended complaint;
       (3) New evidence produced during discovery; and
       (4) New evidence produced when the ALJ consults with scientific and clinical experts.
       (5) New evidence presented during any hearing.

The contractor should submit a statement regarding whether the new evidence is significant
within such deadline as the ALJ may set. (See §426.417 of the regulation.)

13.13.9 - Contractor Options
(Rev. 71, 04-09-04)

A. Retiring the LCD

A contractor has the discretion to retire an LCD under review any time before the date the ALJ
issues a decision regarding that LCD. Retiring an LCD under review has the same effect as a
decision under §426.460(b) of the final regulation, which is described below.

B. Revising the LCD

A contractor has the discretion to revise an LCD under review to remove or amend the LCD
provision listed in the complaint at any time before the date the ALJ issues a decision regarding
that LCD through the reconsideration process. Revising an LCD under review to remove the
LCD provision in question has the same effect as a decision under §426.460(b) of the final
regulation, which is described below.

A contractor shall notify the ALJ within 48 hours of:

       (1) Retiring an LCD that is under review, or
       (2) Issuing a revised version of the LCD that is under review.
       Case 1:22-cv-00397-JMC Document 18-2 Filed 06/03/22 Page 33 of 38

If the contractor issues a revised LCD, they shall forward a copy of the revised LCD to the ALJ.
If the provision in question is not entirely removed, the review will continue on the revised LCD.
(See §426.420 of the regulation.)

13.13.10 - The ALJ Decision
(Rev. 71, 04-09-04)

Within 90 days from closing the review record to the taking of evidence, the ALJ is required
either to issue a decision, including a description of appeal rights, or to provide notice that the
decision is pending, and an approximate date a decision will be issued. (See § 426.447 of the
regulation).

After the ALJ has made a decision regarding an LCD complaint, the ALJ will send a
written notice of the decision to each party.

If the ALJ finds that the provision or provisions of the LCD named in the complaint is (are) valid
under the reasonableness standard, the aggrieved party or parties may appeal that (those) part(s)
of the ALJ decision to the Board. (See §426.465 of the final regulation.)

ALJ decisions may be written narrowly to hold specific provision(s) invalid as applied to specific
clinical indications and for similar conditions.

13.13.11 - Effectuating the Decision
(Rev. 473, Issued: 06-21-13, Effective: 01-15-13, Implementation: 01-15-13)

If the ALJ finds that the provision or provisions of the LCD named in the complaint is (are)
invalid under the reasonableness standard, and no appeal is filed by the contractor, the
contractor will provide the following according to §426.460(b) of the final regulation:

   (1) Individual claims: If the contractor does not appeal the ALJ decision and if an
   aggrieved party’s claim/appeal(s) had previously been denied, the contractor shall reopen the
   aggrieved party’s claim and adjudicate the claim without using the provision(s) of the LCD
   that the ALJ found invalid. If a revised LCD is issued, the contractor will use the revised
   LCD in reviewing claim/appeal submissions or request for items or services delivered or
   services performed on or after the effective date of the revised LCD. If an aggrieved party
   has not yet submitted a claim, the contractor will adjudicate the claim without using the
   provision(s) of the LCD that the ALJ found invalid. In either case, the claim will be
   adjudicated without using the LCD provision(s) found invalid.

   (2) Coverage determination relief. If the contractor does not appeal the ALJ decision,
   the contractor will implement the ALJ decision within 30 days by doing one of the
   following:

       (i) Revise the LCD to remove the provision(s) of the LCD that the ALJ decision stated
       was/were not valid under the reasonableness standard. The revised LCD is effective for
       dates of service on or after the 30th day following the ALJ’s decision.
       Case 1:22-cv-00397-JMC Document 18-2 Filed 06/03/22 Page 34 of 38

       (ii) Retire the LCD in its entirety and not use the LCD in adjudicating claims with dates
       of service on or after the 30th day following the ALJ decision. (See §426.460 of the final
       regulation.

The Board shall issue a written decision to all parties to the review of the ALJ decision.
The decision shall include the following:

   •   The Board’s Findings (i.e., A statement upholding the part(s) of the ALJ decision
       named in the appeal, a statement reversing the part(s) of the ALJ decision named in
       the appeal, a statement modifying the part(s) of the ALJ decision named in the appeal,
       or a statement dismissing the appeal of an ALJ decision and a rationale for the
       dismissal);
   •   The date of issuance;
   •   The docket number of the review of the ALJ decision;
   •   A summary of the ALJ's decision; and
   •   A rationale for the basis of the Board’s decision.

 The Board may not do the following:

   •   Order CMS or its contractors to add any language to a provision or provisions of an LCD;
   •   Order CMS or its contractors to pay a specific claim;
   •   Order CMS or its contractors to pay a specific claim;
   •   Set a time limit to establish a new or revised LCD;
   •   Review or evaluate an LCD other than the LCD named in the ALJ’s decision;
   •   Include a requirement for CMS or its contractors that specifies payment, coding, or
       system changes for an LCD or deadlines for implementing these changes; or
   •   Order CMS or its contractors to implement an LCD in a particular manner.

13.13.12 - Appeals
(Rev. 71, 04-09-04)

A contractor has the discretion to appeal any part of an ALJ’s decision that states that a provision
(or provisions) of an LCD is (are) unreasonable to the Departmental Appeals Board (the Board).
The appeal shall be received by the Board within 30 days of the date the ALJ’s decision was
issued, or it shall include a rationale stating why the late appeal should be accepted by the Board.
An appeal to the Board stays implementation of the Contractor’s decision until the Board issues
a final decision.

To file an appeal described in paragraph (a) of this section, a contractor shall send the following
to the Board:

       (i) The full names and addresses of the parties, including the name of the LCD.
       (ii) The date of issuance of the ALJ’s decision.
       (iii) The docket number that appears on the ALJ’s decision.
       (iv) A statement identifying the part(s) of the ALJ’s decision that are being appealed.
       (See §426.465 of the regulation.)
       Case 1:22-cv-00397-JMC Document 18-2 Filed 06/03/22 Page 35 of 38


13.13.13 - Board Review of an ALJ Decision
(Rev. 71, 04-09-04)

If the Board determines that an appeal is acceptable, the Board will do the following:

        •   Permit the party that did not file the appeal an opportunity to respond to the appeal.

        •   Hold an oral argument (which may be held by telephone) if the Board determines
            that oral argument would be helpful to the Board’s review of the ALJ decision.

        •   Review the LCD review record and the parties’ arguments.

        •   Issue a written decision either upholding, modifying, or reversing the ALJ decision,
            or remanding the case to the ALJ for further proceedings.

        •   Dismiss an appeal by an aggrieved party of an ALJ decision finding that an LCD was
            valid if the contractor notifies the Board that it has retired the LCD or revised the
            LCD to remove the LCD provision in question. (See §426.476 of the final
            regulation.)

A contractor has the discretion to retire or revise an LCD during the Board’s review of an ALJ’s
decision. If an LCD is retired or revised to remove completely the challenged provision(s), the
aggrieved party is entitled to individual claim relief provided under §426.488(b) of the
regulation. (See §426.478 of the regulation.)

A party (contractor or aggrieved party) who filed an appeal of an ALJ’s decision may withdraw
the appeal before the Board issues a decision by sending the Board and any other party written
notice announcing the intent to withdraw the appeal. (See §426.480 of the regulation).

The Board shall issue a written decision to all parties to the review of the ALJ decision. The
decision shall include the following:

       •    The Board’s Findings (i.e., A statement upholding the part(s) of the ALJ decision
            named in the appeal, a statement reversing the part(s) of the ALJ decision named in
            the appeal, a statement modifying the part(s) of the ALJ decision named in the appeal,
            or a statement dismissing the appeal of an ALJ decision and a rationale for the
            dismissal);

       •    The date of issuance;
       •    The docket number of the review of the ALJ decision;
       •    A summary of the ALJ's decision; and
       •    A rationale for the basis of the Board’s decision.

The Board may not do the following:

               •   Order CMS or its contractors to add any language to a provision or provisions
                   of an LCD;
               •   Order CMS or its contractors to pay a specific claim;
       Case 1:22-cv-00397-JMC Document 18-2 Filed 06/03/22 Page 36 of 38

               •   Order CMS or its contractors to pay a specific claim;
               •   Set a time limit to establish a new or revised LCD;
               •   Review or evaluate an LCD other than the LCD named in the ALJ’s decision;
               •   Include a requirement for CMS or its contractors that specifies payment,
                   coding, or system changes for an LCD or deadlines for implementing these
                   changes; or
               •   Order CMS or its contractors to implement an LCD in a particular manner.

13.13.14 - Effect of a Board Decision
(Rev. 71, 04-09-04)

If the Board’s decision upholds the ALJ decision that an LCD is valid under the reasonableness
standard or reverses an ALJ decision that than LCD is invalid, the contractor or CMS is not
required to take any action.

If the Board’s decision upholds an ALJ determination that the LCD is invalid, then the contractor
will provide individual claim relief and coverage determination relief as described above and at
§426.460(b) of the regulation.

If the Board reverses an ALJ’s decision dismissing a complaint, the Board remands to the ALJ
and the LCD review continues. (See §426.488 of the regulation.)

If the Board remands a case to the ALJ, the Board will notify each aggrieved party at his or her
last known address, the contractor and CMS of the Board’s remand decision and explain why the
case is being remanded and the specific actions ordered by the Board. (See §426.489 of the
regulation.)

A decision by the Board (other than a remand) constitutes a final agency action and is subject to
judicial review. Neither the contractor nor CMS may appeal a Board decision. (See §426.490 of
the regulation.)

13.13.15 - Future New or Revised LCDs
(Rev. 71, 04-09-04)

The contractor shall not reinstate an LCD provision(s) found to be unreasonable unless the
contractor has a different basis (such as additional evidence) than what the ALJ evaluated. (See
§426.463 of the regulation)

If Contractors incorrectly receive a “Challenge” they shall forward the challenge to the
appropriate office designated at http://www.medicare.gov/coverage/static/appeals.asp, notify the
aggrieved party that the complaint has been forwarded, and initiate a reconsideration of the
policy.
         Case 1:22-cv-00397-JMC Document 18-2 Filed 06/03/22 Page 37 of 38


 Transmittals Issued for this Chapter

Rev #      Issue Date   Subject                                        Impl Date   CR#
R510PI     04/11/2014   Clarification to Pub. 100-02, Medicare Benefit   05/12/2014 8665
                        Policy Manual Regarding Antigens and Deletion
                        of Section 13.14 from Chapter 13 of Pub. 100-08,
                        Medicare Program Integrity Manual
R473PI     06/21/2013   Update to Pub. 100-08, Program Integrity Manual, 01/15/2013 7829
                        Chapter 13
R443PI     12/14/2012   Update to Pub. 100-08, Program Integrity Manual, 01/15/2013 7829
                        Chapter 13 – Rescinded and replaced by
                        Transmittal 473
R253PI     04/25/2008   Local Coverage Determinations (LCDs)           05/27/2008 5953
                        Responsibility Transition From Durable Medical
                        Equipment (DME) Program Safeguard Contractor
                        (PSC) to DME Medicare Administrative
                        Contractors (MAC)
R186PI     01/26/2007   Durable Medical Equipment Medicare             02/26/2007 5410
                        Administrative Contractors (DME MACs)
                        Adoption or Rejection of Local Coverage
                        Determinations (LCDs) Recommended by
                        Durable Medical Equipment Program Safeguard
                        Contractors (DME PSCs)
R174PI     11/17/2006   Transition of Medical Review Educational       10/06/2006 5275
                        Activities
R170PI     11/03/2006   Transition of Medical Review Educational       10/06/2006 5275
                        Activities – Replaced by Transmittal 174
R165PI     10/06/2006   Durable Medical Equipment Medicare             10/26/2006 5301
                        Administrative Contractors (DME MACs)
                        Adoption or Rejection of Local Coverage
                        Determinations (LCDs) Recommended by
                        Durable Medical Equipment Program Safeguard
                        Contractors (DME PSCs)
R163PI     09/29/2006   Transition of Medical Review Educational       10/06/2006 5275
                        Activities – Replaced by Transmittal 170
R147PI     05/19/2006   Evaluation of LCD Topics for NCD Consideration 06/19/2006 4233
R099PI     01/21/2005   Waivers Approved by the Regional Office (RO) 02/22/2005 3646
                        by Replacing Regional Office with Central office
                        (CO)
R071PI     04/09/2004   Rewrite of Program Integrity Manual (except    05/10/2004 3030
                        Chapter 10) to Apply to PSCs
R063PI     01/23/2004   Conversion from LMRP to LCD                    02/23/2004 3010
R044PI     07/25/2003   Replacing Contractor MR Web Sites with         10/01/2003 2592
                        Medicare Coverage Database
         Case 1:22-cv-00397-JMC Document 18-2 Filed 06/03/22 Page 38 of 38


Rev #      Issue Date    Subject                                     Impl Date CR#
R038PI     02/03/2003    Articles is deleted                         02/14/2003 2120
R034PI     11/22/2002    LMRP Reconsideration                        N/A         2435
R028PIM 07/10/2002       LMRP Reconsideration                        10/01/2002 2196
R027PIM 07/02/2002       Contractor Review of LMRPs                  10/01/2002 2141
R024PIM 04/05/2002       Moves the LMRP and related sections from Chap 10/01/2002 2061
                         1 and to Chap 13
Back to top of chapter
